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                                                                       May 9, 2022

         By ECF

         The Honorable John G. Koeltl
         Daniel Patrick Moynihan
         United States Courthouse
         500 Pearl St.
         New York, New York 10007-1312

                  Re: Roche Cyrulnik Freedman LLP v. Cyrulnik, Case No. 1:21-cv-01746 (JGK)

         Dear Judge Koeltl:

                 Pursuant to Rule 6.A.2 of Your Honor’s Individual Practices, I write on behalf of
         Defendant/Counterclaim-Plaintiff Jason Cyrulnik (“Cyrulnik”) to request permission to file
         under temporary seal an exhibit to Cyrulnik’s letter in response to Counterclaim-Defendants’
         May 4, 2022 letter raising a discovery dispute concerning Cyrulnik’s initial disclosures. (ECF
         No. 112.) Cyrulnik intends to reference certain information Counterclaim-Defendants contend
         are confidential and warrant sealing. Although Cyrulnik does not believe the materials warrant
         sealing, he makes this request in the interest of affording Counterclaim-Defendants the
         opportunity to file a motion for longer-term sealing, to which motion Cyrulnik will respond in
         due course. In accordance with Rule 6.A.2 of your Honor’s Individual Practices, we have
         notified Counterclaim-Defendants of their obligation to file a letter within three days explaining
         the need to seal the materials.

                  We thank the Court for its consideration of this request.

                                                                Respectfully,



                                                                Gavin D. Schryver

         cc:      Counsel of Record (via ECF)
